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 8                               UNITED STATES DISTRICT COURT

 9                             EASTERN DISTRICT OF CALIFORNIA

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11   GERALD CARLIN, JOHN RAHM,                         1:09-cv-0430 AWI DLB
     PAUL ROZWADOWSKI AND BRIAN
12   WOLFE, individually and on behalf of
     themselves and all others similarly
13   situated,
                                                    CLASS ACTION
14                     Plaintiffs,
                                                    ORDER GRANTING PLAINTIFFS’
15          v.                                      UNOPPOSED REQUEST TO FILE SINGLE
                                                    REPLY BRIEF
16   DAIRY AMERICA, INC. and
     CAIFORNIA DAIRIES, INC.,
17
                       Defendants.
18

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20
            Plaintiffs’ request for leave to file a consolidated reply brief, not to exceed 30 pages, on
21
     their motion for leave to file a second amended consolidated complaint (ECF No. 223) in
22
     response to the opposition briefs filed by Defendant DairyAmerica, Inc. (ECF No. 228) and non-
23
     party California Dairies, Inc. (ECF No. 230) is GRANTED.
24

25   IT IS SO ORDERED.
26
     Dated: November 4, 2015
27                                                SENIOR DISTRICT JUDGE

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     Case 1:09-cv-00430-AWI-EPG Document 232 Filed 11/05/15 Page 2 of 2


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